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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1247V
                                      Filed: July 13, 2017
                                        UNPUBLISHED


    SUSAN WIGLEY,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Uncontested;
    v.                                                       Causation-In-Fact; Influenza (Flu)
                                                             Vaccine; Shoulder Injury Related to
    SECRETARY OF HEALTH AND                                  Vaccine Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.
Ilene C. Albala, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1
Dorsey, Chief Special Master:
       On September 30, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered an injury to her left shoulder as a
result of an influenza (“flu”) vaccine administered on October 3, 2013. Petition at 1.
The case was assigned to the Special Processing Unit (“SPU”) of the Office of Special
Masters.
        On July 13, 2017, respondent filed his Rule 4(c) Report in which he states that he
does not contest that petitioner is entitled to compensation in this case. Respondent’s
Rule 4(c) Report at 1. Specifically, respondent believes petitioner’s alleged left shoulder
injury is consistent with a shoulder injury related to vaccine administration (“SIRVA”).

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Id. at 6. Respondent further agrees that petitioner has met the statutory requirements
by suffering the condition for more than six months. Id. Therefore, based on the record
as it now stands, petitioner has satisfied all legal prerequisites for compensation under
the Act. Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.


IT IS SO ORDERED.


                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
